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                  UNITED STATES COURT OF APPEALS                   FILED
                            FOR THE NINTH CIRCUIT                   FEB 17 2021
                                                               MOLLY C. DWYER, CLERK
                                                                 U.S. COURT OF APPEALS
ZACHARY SILBERSHER, Relator,              No.   20-16176

              Plaintiff-Appellant,        D.C. No. 3:18-cv-01496-JD
                                          Northern District of California,
and                                       San Francisco

UNITED STATES OF AMERICA, ex rel.;        ORDER
et al.,

              Plaintiffs,

 v.

VALEANT PHARMACEUTICALS
INTERNATIONAL, INC.; et al.,

             Defendants-Appellees,
______________________________

FLAT LINE CAPITAL, LLC,

              Intervenor-Pending.


ZACHARY SILBERSHER, Relator,              No.   20-16256

              Plaintiff-Appellee,         D.C. No. 3:18-cv-01496-JD

and

UNITED STATES OF AMERICA, ex rel.;
et al.,

              Plaintiffs,



AT/MOATT
        Case 3:18-cv-01496-JD Document 122 Filed 02/19/21 Page 2 of 2




 v.

VALEANT PHARMACEUTICALS
INTERNATIONAL, INC.; et al.,

                Defendants,

and

DR. FALK PHARMA GMBH,

             Defendant-Appellant,
______________________________

FLAT LINE CAPITAL, LLC,

                Intervenor-Pending.

Before: CANBY, GRABER, and FRIEDLAND, Circuit Judges.

      The motion of Flat Line Capital, LLC (“Flat Line”), to intervene in these

cross-appeals (Docket Entry No. 32) is denied. See 31 U.S.C. § 3730(b)(5). Flat

Line’s alternative motion for permission to file an amicus curiae brief is referred to

the panel assigned to decide the merits of this appeal.

      Flat Line’s proposed amicus curiae brief is due March 22, 2021.

      The previously established briefing schedule remains in effect.




AT/MOATT                                  2                                    20-16176
